IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA STATE CONFERENCE
OF THE NAACP, et al.,
Plaintiffs,
V.

1113CV658

PATRICK LLOYD MCCRORY, in his official
capacity as Governor of North Caroiina, et al.,

Defendants.

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MOTION TO QUASH SUBPOENAS
TO STATE LEGISLATORS

NOW COME Senator Phil Berger, Senator Tom Apodaca,‘ Senator Thom Goolsby,
Scnator Ralph Hise, Senator Bob Rucho, Representative Thom Tillis, Representative
J ames Boles, Jr., Representative David LeWis, Representative Tim Moore, Representative
Tom Murry, Representative Larry Pittman, Representative Ruth Samuelson and
Representative Harry Warren (collectively “the legislative movants”), by and through
undersigned counsel, and hereby move to quash the subpoenas served on them by
plaintiffs in the above-captioned action on the grounds that each of the legislative
movants is entitled to legislative immunity, and for reasons more fully set forth in the

accompanying Memorandum in support of this motion, Which is tited contemporaneously

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herewith and incorporated herein by reference as though fully set forth. Copies of the
subpoenas that are the subject of this motion are attached hereto as Exhibits 1 ~ 13.
WHEREFORE, the legislative movants respectfully pray that the Court quash the

subpoenas served on them by plaintiffs

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This the 20th day of January, 2014.

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ATToRNEY GENERAL or NoRTH
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CERTIFICATE OF SERVICE

I, Thornas A. Farr, hereby certify that I have this day electronically filed the
foregoing MEMORANDUM IN SUPPORT OF MOTION To QUASH SUBPOENAS T0 STATE
LEGISLATORS With the Clerk of Court using the CM/ECF system Which Wifl provide
electronic notification of the same to the following:

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